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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff(s),              CASE NUMBER: 05-80025
                                                 HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                         ORDER

       This matter is before the Court on the Government’s “Motion in Limine to Permit

Victim’s Family Members to be Present in Court During Trial.” (Doc. #505).

       18 U.S.C. §3510(b) says:

       Capital cases. -- Notwithstanding any statute, rule, or other provision of
       law, a United States district court shall not order any victim of an offense
       excluded from trial of a defendant accused of that offense because such
       victim may, during the sentencing hearing, testify as to the effect of the
       offense on the victim and the victim’s family or as to any other factor for
       which notice is required under section 3593(a).

“Victim” is defined as “a person that has suffered direct physical, emotional, or

pecuniary harm as a result of the commission of a crime[.]” 42 U.S.C. §10607(e)(2).

       The Government’s motion is GRANTED. Surviving family members may attend

Timothy O’Reilly’s trial.

       However, before O’Reilly’s trial begins, the parties must meet and discuss

appropriate limits that should be in place concerning the conduct of relatives of victims.

See Order dated May 10, 2007.



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       IT IS ORDERED.


                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: June 3, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 June 3, 2010.

 s/Carol A. Pinegar
 Deputy Clerk




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